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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PATRICK CALHOUN, et al.,                            Case No. 20-cv-05146-YGR (SVK)
                                   8                     Plaintiffs,
                                                                                             ORDER RE PARTIES' REQUESTS
                                   9              v.                                         FOR BRIEFING OF DISCOVERY
                                                                                             DISPUTES
                                  10     GOOGLE LLC,
                                                                                             Re: Dkt. Nos. 678, 680
                                  11                     Defendant.

                                  12          The Court is in receipt of the Parties’ recent requests to brief certain discovery disputes.
Northern District of California
 United States District Court




                                  13   Discovery in this case closed on March 4, 2022. As identified in the Parties’ papers, a small

                                  14   handful of production and response deadlines were extended by the Court and/or the Special

                                  15   Master. Notwithstanding those extensions, except as noted below, the issues raised in the Parties’

                                  16   papers are untimely. In several instances, responses were provided on April 8, 2022, a full seven

                                  17   weeks before specific issues were brought to the Court’s attention. Though some meet and confer

                                  18   efforts followed the responses, it has taken too long for the Parties to close these issues, most of

                                  19   which are not new and have grown stale. Further, as the Parties are well aware, the discovery

                                  20   history in this case is arduous, at best, and not yet concluded with significant issues yet to be

                                  21   heard. See Dkt. Nos. 665; 670. Accordingly, except as noted herein, the Parties’ requests for
                                       briefing of discovery disputes as set forth in Dkt. Nos. 678, 680 are DENIED.
                                  22
                                              Regarding Plaintiffs’ dispute arising out of a recent Rule 30(b)(6) deposition (Dkt. 677-2 at
                                  23
                                       4), the Court hereby ORDERS that no later than June 10, 2022, the Parties will separately file:
                                  24
                                                       Plaintiffs:
                                  25
                                                           •   The 30(b)6 notice with relevant categories highlighted;
                                  26
                                                           •   Only pre-submitted questions in dispute;
                                  27
                                                           •   A one-page position statement as to why these questions are in scope.
                                  28
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                                   1                  Google:

                                   2                      •   A one-page position statement as to why the disputed questions are out of

                                   3                          scope.

                                   4          Regarding Plaintiffs’ dispute arising out of RFP No. 5 (Dkt. 677-2 at 2), the Court has

                                   5   directed the Special Master to file a status report as to this issue, including a recommendation for

                                   6   resolution. Accordingly, within 5 court days of the Special Master’s status report, the Court

                                   7   ORDERS the Parties to meet and confer to reach a resolution of the dispute. If, and only if,

                                   8   necessary, within 10 court days of the Special Master’s status report, each Party may file a

                                   9   response not to exceed 5 pages.

                                  10          SO ORDERED.

                                  11   Dated: June 3, 2022

                                  12
Northern District of California
 United States District Court




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                                                                                                    SUSAN VAN KEULEN
                                  14                                                                United States Magistrate Judge
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